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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                            FORT MYERS DIVISION


TAVARES FELTON,

               Petitioner,

v.                                         CASE NO. 2:16-cr-884-FtM-38CM
                                                   (2:15-cr-42-FtM-38CM)

UNITED STATES OF AMERICA,

           Respondent.
___________________________/


               UNITED STATES’ RESPONSE IN OPPOSITION
     TO PETITIONER’S MOTION TO VACATE, SET ASIDE, OR CORRECT
                SENTENCE PURSUANT TO 28 U.S.C. § 2255

         The defendant raises a number of issues in his multiple motions pursuant to 28

U.S.C. § 2255. All are without merit and the Court should deny his motion.

                             I.   STATEMENT OF CASE

         1.    On April 16, 2015, a grand jury indicted Tavares Felton, case 2:15-cr-

00042-SPC-CM, doc. 3, on charges stemming from his possession of two assault

rifles and from his possession with intent to distribute heroin, crack, and xanax.

         2.    Felton filed motions to suppress physical evidence that law enforcement

obtained from his grandmother’s home, and statements he made during two

subsequent interviews with law enforcement. Case 2:15-cr-00042-SPC-CM, docs.

23-25.
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      3.     The Court denied the motion to suppress physical evidence because the

defendant failed to make a showing under Franks v. Delaware, 438 U.S. 154 (1978),

and because the defendant failed to establish standing to challenge the search of his

grandmother’s house. Case 2:15-cr-00042-SPC-CM, doc. 49.

      4.     The Court denied the defendant’s motion to suppress his statement

because he was properly administered his Miranda warnings. Case 2:15-cr-00042-

SPC-CM, doc. 48.

      5.     On January 30, 2015, after plea bargaining with the government,

Petitioner pled guilty to pursuant to a written plea agreement, to Count Four of the

Indictment. Case 2:15-cr-00042-SPC-CM, doc. 71 at 1. Count Four charges the

defendant with Felon in Possession of a Firearm, in violation of 18 U.S.C.

§§ 922(g)(1) and 942(e)(1). Case 2:15-cr-00042-SPC-CM, docs. 3 at 2, 71 at 1. The

United States agreed to drop the drug-related charges.

      6.     After “cautioning and examining the Defendant under oath concerning

each of the subjects mentioned in Rule 11,” the Court determined that Petitioner’s

guilty plea was “knowledgeable and voluntary as to Count Four, and that the offense

charged [was] supported by an independent basis in fact containing each of the

essential elements of such Count.” Case 2:15-cr-00042-SPC-CM, docs. 72, 74.

      7.     As part of his plea agreement, Petitioner expressly waived the right to

appeal his sentence:


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      . . . on any ground, including the ground that the Court erred in
      determining the applicable guidelines range pursuant to the United States
      Sentencing Guidelines, except (a) the ground that the sentence exceeds
      the defendant’s applicable guidelines range as determined by the Court
      pursuant to the United States Sentencing Guidelines; (b) the ground that
      the sentence exceeds the statutory maximum penalty; or (c) the ground
      that the sentence violated the Eighth Amendment to the Constitution;
      provided, however, that if the government exercises its right tot appeal
      the sentence imposed, as authorized by Title 18, United States Code,
      Section 3742(b), then the defendant is released from his waiver and may
      appeal the sentence as authorized by Title 18, United States Code,
      Section 3742(a).

Case 2:15-cr-00042-SPC-CM, doc. 71 at 11.

      8.     The defendant’s sentencing guideline range for the offense of conviction

was 188 to 235 months (offense level 31, criminal history category VI). On April

18, 2016, the Court sentenced Petitioner to 188 months’ imprisonment, to be

followed by 60 months’ supervised release. Case 2:15-cr-00042-SPC-CM, docs. 80,

99. The government agreed to dismiss counts 1 through 3 relating to the heroin,

crack cocaine, and Xanax. Based upon the facts set forth in the PSR, if the

defendant had pled guilty to the heroin charge, he would have been subject to the

career offender provision of U.S.S.G. § 4B1.1(b)(2), and his guideline range would

have been the same as the offense of conviction (offense level 31, criminal history

category VI, guideline range of 188-235 months).

      9.     The defendant’s attorneys, Manny Arora and Douglas Molloy,

discussed filing an appeal with the defendant. The defendant’s attorneys indicated

to Mr. Felton that he had waived his right to appeal with the exception of the few

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narrow circumstances mentioned in his appeal waiver, and that even if he were not

barred from filing an appeal, there would otherwise be no substantive merit to an

appeal. Exhibits A and B.

      10.    Mr. Felton never requested that his attorneys file an appeal, and an

appeal was not filed. Exhibits A and B.

      11.    Petitioner filed a motion to vacate, set aside, or correct sentence

pursuant to 28 U.S.C. § 2255, (case 2:16-cv-884-SPC-CM, doc. 1), an amended

motion to vacate, set aside, or correct sentence pursuant to 28 U.S.C. § 2255, (case

2:16-cv-884-SPC-CM, doc. 10), a Supplemental and Amended Motion to vacate, set

aside, or correct sentence (case 2:16-cv-884-SPC-CM, doc. 15), and Motion to

Amend his Petition (case 2:16-cv-884-SPC-CM, doc. 21). Petitioner’s claims are far

from clear, but appear to set forth six alleged grounds for relief, most sounding in

ineffective assistance of counsel:

   1. Although he expressly waived his right to appeal under most
      circumstances in his plea agreement, the Petitioner claims he requested
      his counsel to file an appeal, but his counsel refused to file the appeal;

   2. Although he failed to make a showing under Franks v. Delaware, 438 U.S.
      154 (1978), that he was even entitled to a hearing, or to call witnesses,
      relating to the suppression of physical evidence in the first instance,
      Petitioner claims his counsel provided ineffective assistance because he
      failed to call certain witnesses during the hearing;

   3. His counsel failed to the challenge the fact that two state convictions for
      trafficking in illegal drugs were not “serious drug offense[s]” under the
      ACCA;


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   4. Although Petitioner did not serve as an informant, nor did allege he had
      the authority to possess firearms, Petitioner claims he was somehow
      permitted to possess the assault rifles in this case because he was in the
      process of signing up to be a confidential informant;

   5. Although the United States provided evidence that it did not possess
      “seized funds” previously belonging to Petitioner, Petitioner alleges that
      the United States committed prosecutorial misconduct by hiding their
      possession of the funds. Further, Petitioner claims his counsel provided
      him with ineffective assistance by failing to inform him that state officials
      possessed the funds.

   6. That the petitioner’s plea was not voluntary

                          II.     MEMORANDUM OF LAW

      A.     Timeliness

      Petitioner’s conviction became final on May 2, 2016, when the time for filing a

direct appeal had passed. Therefore, he had until May 2, 2017, to file this motion

pursuant to § 2255. See Case 2:15-cr-00042-SPC-CM. Doc. 80; see Adams v. United

States, 173 F.3d 1339, 1342 n.2 (11th Cir. 1999) (when defendant does not pursue

direct appeal, conviction becomes final when time for filing a direct appeal expires).

Petitioner filed an Amended Motion to Vacate, Set Aside, Or Correct Sentence

Pursuant to 28 U.S.C. § 2255 on January 6, 2017. Doc. 10. Therefore, Petitioner’s

motion is timely. See 28 U.S.C. § 2255 ¶ 6(1).

      B.     Procedural Default

      Courts have long and consistently affirmed that a collateral challenge, such as

a § 2255 motion, may not be a surrogate for a direct appeal. See, e.g., United States v.

Frady, 456 U.S. 152, 165 (1982) (collecting cases). Because collateral review is not a
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substitute for a direct appeal, the general rules have developed that: (1) a defendant

must assert all available claims on direct appeal, Mills v. United States, 36 F.3d 1052,

1055 (11th Cir.1994); and (2) “[r]elief under 28 U.S.C. § 2255 ‘is reserved for

transgressions of constitutional rights and for that narrow compass of other injury

that could not have been raised in direct appeal and would, if condoned, result in a

complete miscarriage of justice.’ ” Richards v. United States, 837 F.2d 965, 966 (11th

Cir.1988). Accordingly, a non-constitutional error that may justify reversal on

direct appeal does not generally support a collateral attack on a final judgment,

Frady, 456 U.S. at 165, unless the error (1) could not have been raised on direct

appeal and (2) would, if condoned, result in a complete miscarriage of justice. Stone

v. Powell, 428 U.S. 465, 477 n. 10, (1976); Lynn v. United States, 365 F.3d 1225, 1232–

33 (11th Cir. 2004).

      Petitioner’s claims that the United States committed prosecutorial misconduct

are procedurally defaulted. “Under the procedural default rule, a defendant generally

must advance an available challenge to a criminal conviction or sentence on direct

appeal or else the defendant is barred from presenting that claim in a § 2255

proceeding.” Lynn v. United States, 365 F.3d 1225, 1234 (11th Cir. 2004) (citing

McCoy v. United States, 266 F.3d 1245, 1258 (11th Cir. 2001); Jones v. United States,

153 F.3d 1305, 1307 (11th Cir. 1998); Mills v. United States, 36 F.3d 1052, 1055 (11th

Cir. 1994); Greene v. United States, 880 F.2d 1299, 1305 (11th Cir. 1989)).


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      There are two exceptions to this rule. Lynn, 365 F.3d at 1234. The first

exception requires that the Petitioner “show cause for not raising the claim . . . on

direct appeal and actual prejudice from the alleged error.” Id. (citing Bousley v.

United States, 523 U.S. 614, 622 (1998); Mills, 36 F.3d at 1055; Cross v. United States,

893 F.2d 1287, 1289 (11th Cir. 1990); Greene, 880 F.2d at 1305; Martorana v. United

States, 873 F.2d 283, 284 (11th Cir. 1989); Parks v.United States, 832 F.2d 1244, 1246

(11th Cir. 1987)). The second exception is actual innocence, which is shown

through “‘new reliable evidence . . . not presented at trial.’” High v. Head, 209 F.3d

1257, 1270 (11th Cir. 2000) (quoting Schlup v. Delo, 513 U.S. 298, 324 (1995)).

      Petitioner appears to allege that he was an informant at the time of his arrest

and committed the acts he is charged with while cloaked with the authority of the

Fort Myers Police Department. Case 2:16-cv-884-SPC-CM. Doc. 15 at 1-7.

Moreover, Petitioner claims that the United States committed prosecutorial

misconduct by concealing Petitioner’s status as an informant. Case 2:16-cv-884-

SPC-CM. Doc. 15 at 3. These claim falls into neither exception to the procedural

bar. First, there is no evidence that petitioner is actually innocent. As state below,

the defendant had not yet been signed up to be a confidential informant, but even if

he had, there is no evidence that Fort Myers Police Department authorized the

defendant to possess, among other things, 9 ounces of vacuum sealed heroin and two

assault rifles. Moreover, even if he was an informant, and even if he was authorized

to be storing heroin, crack cocaine, and assault rifles in his house, petitioner would
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need to establish that he was actually innocent of both the firearm offense, and the

dismissed heroin count. See United States v. Montano, 398 F.3d 1276, 1285 (11th Cir.

2005) (holding that an actual innocence claim fails where “the Government has

foregone several more serious charges in the course of plea bargaining.”) He has not

even attempted to do this. Petitioner’s claim fails to meet the requirements for the

cause and prejudice exception as well. See Lynn, 365 F.3d at 1234. Petitioner fails

to point to any “objective factor external to the defense” that prevented him from

raising the claim of prosecutorial misconduct while before the district court or on

direct appeal. Id. Thus, Petitioner’s allegation of prosecutorial misconduct is

procedurally defaulted and barred from consideration in this § 2255 motion.

      C.     Waiver

      Petitioner has waived the right to appeal his sentence “on any ground,

including the ground that the Court erred in determining the applicable guidelines

range pursuant to the United States Sentencing Guidelines, except (a) the ground

that the sentence exceeds the defendant’s applicable guidelines range as determined

by the Court pursuant to the United States Sentencing Guidelines; (b) the ground

that the sentence exceeds the statutory maximum penalty; or (c) the ground that the

sentence violates the Eighth Amendment to the Constitution; provided, however,

that if the government exercises its right to appeal the sentence imposed, as

authorized by 18 U.S.C. § 3742(b), then the defendant is released from his waiver

and may appeal the sentence as authorized by 18 U.S.C. § 3742(a). Doc. 71 at 11.
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The defendant does not allege any of those circumstances exist here, but the

defendant did not expressly waive, in his plea agreement, the right to collaterally

attack his sentence.

      D.     Merits of Defendant’s Claims

             1.        The Strickland Standard

      The Petitioner’s six grounds for relief, all sounding in ineffective assistance of

counsel, in his multiple petitions and amended petitions are without merit and

should be denied. The Sixth Amendment right to counsel is the right to effective

assistance of counsel. McMann v. Richardson, 397 U.S. 759, 771 n.14 (1970). The

benchmark for judging any claim of ineffective assistance of counsel, however, is

whether counsel’s conduct so undermined the proper functioning of the adversarial

process that the trial cannot be relied on as having produced a just result. Strickland

v. Washington, 466 U.S. 668 (1984); see also Boykins v. Wainwright, 737 F.2d 1539,

1542 (11th Cir. 1984). Because a lawyer is presumed to be competent to assist a

defendant, the burden is on the accused to demonstrate the denial of the effective

assistance of counsel. United States v. Cronic, 466 U.S. 648, 658 (1984).

Ineffectiveness of counsel may be grounds for vacating a conviction if (1) counsel’s

performance fell below an objective standard of reasonable professional assistance

and (2) the defendant was prejudiced by the deficient performance. Strickland, 466

U.S. at 687, 694. “There is no reason for a court deciding an ineffective assistance

claim . . . to address both components of the inquiry if the defendant makes an
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 insufficient showing on one.” Id. at 697. Thus, if the defendant fails to show that

 he is prejudiced by the alleged errors of counsel, this Court may reject the

 defendant’s claim without determining whether the counsel’s performance was

 deficient. See Coulter v. Herring, 60 F.3d 1499, 1504 n.8 (11th Cir. 1995).

       For performance to be deficient, a defendant must establish that, in light of all

 the circumstances, counsel’s performance was outside the wide range of professional

 competence. See Strickland, 466 U.S. at 690. When reviewing counsel’s decisions,

 “the issue is not what is possible or ‘what is prudent or appropriate, but only what is

 constitutionally compelled.’” Chandler v. United States, 218 F.3d 1305, 1313 (11th

 Cir. 2000) (en banc) (quoting Burger v. Kemp, 483 U.S. 776 (1987)). Furthermore,

 “[t]he burden of persuasion is on a petitioner to prove, by a preponderance of

 competent evidence, that counsel’s performance was unreasonable.” Chandler, 218

 F.3d at 1313. This burden of persuasion, though not insurmountable, is a heavy

 one. See id. at 1314. “Judicial scrutiny of counsel’s performance must be highly

 deferential,” and courts “must avoid second-guessing counsel’s performance.” Id. at

 1314 (quoting Strickland, 466 U.S. at 689). “Courts must ‘indulge [the] strong

 presumption’ that counsel’s performance was reasonable and that counsel ‘made all

 significant decisions in the exercise of reasonable professional judgment.’” Id.

 (quoting Strickland, 466 U.S. at 689-90). Therefore, “counsel cannot be adjudged

 incompetent for performing in a particular way in a case, as long as the approach


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 taken ‘might be considered sound trial strategy.’” Id. (quoting Darden v.

 Wainwright, 477 U.S. 168 (1986)).

       If the record is incomplete or unclear about counsel’s actions, then it is

 presumed that counsel exercised reasonable professional judgment. See id. at

 1314-15 n.15. Thus, the presumption afforded counsel’s performance “is not . . .

 that the particular defense lawyer in reality focused on and, then, deliberately

 decided to do or not to do a specific act.” Id. Rather, the presumption is “that

 what the particular defense lawyer did at trial . . . were acts that some reasonable

 lawyer might do.” Id. Moreover, “[t]he reasonableness of a counsel’s performance

 is an objective inquiry.” Id. at 1315. For a petitioner to show deficient

 performance, he “must establish that no competent counsel would have taken the

 action that his counsel did take.” Id.    To uphold a lawyer’s strategy, a court “need

 not attempt to divine the lawyer’s mental processes underlying the strategy.” Id. at

 1315 n.16. Finally, “[n]o absolute rules dictate what is reasonable performance for

 lawyers.” Id. at 1317.

       Strickland’s “prejudice prong requires a petitioner to demonstrate that seriously

 deficient performance of his attorney prejudiced the defense.” Butcher v. United States,

 368 F.3d 1290, 1293 (11th Cir. 2004). This requires a showing that “there is a

 reasonable probability that, but for the counsel’s unprofessional errors, the result of

 the proceeding would have been different. Id.


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              2.     Petitioner’s counsel was not constitutionally ineffective for
                     failing to file a meritless direct appeal.

       An attorney who disregards instructions from his client to appeal has acted “in

 a manner that is professionally unreasonable.” Roe v. Flores-Ortega, 528 U.S. 470,

 477 (2000). Moreover, when an attorney fails to follow express instructions to

 appeal, prejudice is presumed. 528 U.S. at 483; Gomez-Diaz v. United States, 433

 F.3d 788, 790-92 (11th Cir. 2005). If the petitioner did not specifically direct his

 attorney to file an appeal, however, a reviewing court must inquire whether the

 attorney consulted with the petitioner regarding the advantages and disadvantages of

 appealing and made a reasonable effort to determine the petitioner’s wishes. Flores-

 Ortega, 528 U.S. at 478. If so, the attorney has acted unreasonably only if he

 ignored the petitioner’s wishes to appeal. Id. Highly relevant factors include

 whether the conviction resulted from a trial or a plea and whether the defendant

 expressly waived his appellate rights. Id.

       Here, the defendant’s lawyers consulted with the defendant about filing an

 appeal, but the defendant did not request that his lawyers file the appeal. The

 petitioner submitted an affidavit with his motion, but failed to state anywhere in that

 affidavit that he instructed his lawyers to file an appeal. Doc. 11-2. In addition,

 both of the defendant’s lawyers have submitted the attached exhibits, Attachments A

 and B, indicating affirmatively that the defendant did not file an appeal. Therefore,

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 the defendant has not established grounds for ineffective assistance of counsel.

 Compare Bolton v. United States, 221 F. App'x 880, 882 (11th Cir. 2007) (holding that

 conflicting affidavits may give rise to an evidentiary hearing)

              3.     Petitioner’s counsel was not constitutionally ineffective for
                     failing to call witnesses at the suppression hearing because the
                     Court prevented the defendant from presenting the testimony the
                     defendant proposes.

        Petitioner contends that he was deprived of his right to effective assistance of

 counsel when his counsel failed to call certain witnesses at a hearing regarding a

 motion to suppress. Case 2:16-cv-884-SPC-CM, doc. 10 at 6. Specifically, the

 Petitioner references the motion to suppress the physical evidence found during the

 execution of a search warrant the day of his arrest. Case 2:16-cv-884-SPC-CM, doc.

 11 at 4.   Petitioner asserts that his Counsel should have called two witnesses to

 testify at his suppression hearing. Case 2:16-cv-884-SPC-CM, doc. 10 at 6.

 Specifically, Detective Langton, who secured both the arrest and search warrants in

 Petitioner’s case, and Juanita Scott, Petitioner’s grandmother who claimed the

 weapons belonged to her late husband before he died. Case 2:16-cv-884-SPC-CM,

 doc. 11 at 3; Case 2:16-cv-884-SPC-CM, doc. 11-2 at 2.

        Petitioner was not entitled to call those witnesses at the hearing, however.

 Specifically, the Court held that he was not entitled to a hearing on those validly-

 issued warrants under Franks v. Delaware, 438 U.S. 154 (1978). Case 2:15-cr-00042-




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 SPC-CM. Doc. 49 at 2. 1 Therefore, Langton’s testimony was barred. Moreover,

 Scott’s proposed testimony that the guns belonged to her deceased husband was also

 not only barred, but irrelevant to the suppression hearing. Specifically, the

 testimony did not relate to the constitutionality of the search, but would, at most be

 an argument for a potential trial. It is also worth noting that the fact that the assault

 rifles, which Felton admitted were his, were previously owned by a now-deceased

 individual would not be a defense to Possession of a Firearm by a Convicted Felon

 in violation of 18 U.S.C. § 922(g).   The defendant also sought to suppress his

 second statement to law enforcement on the grounds that law enforcement officers

 failed to properly issue him Miranda warnings, and the Court did hold a hearing on

 that question. Case 2:15-cr-00042-SPC-CM, doc. 48. The petitioner’s proffered

 testimony of Scott and Langton, however, would have been similarly irrelevant to

 the Miranda issue. Therefore, defendant’s claim lacks merit.

              4.     Petitioner’s counsel was not constitutionally ineffective for
                     failing to raise a meritless challenge to the petitioner’s Armed
                     Career Criminal Act sentencing enhancement

       Petitioner claims that his counsel provided ineffective assistance by failing to

 understand Florida law by challenging his enhanced sentence under the Armed


 1 Defendant also argues, in doc. 21, in an amendment to his § 2255 petition, that
 there were no “exigent circumstances” to search the house. Nevertheless, the
 record, including the Court’s decisions, docs. 48, 49, and 50, indicate that the house
 was searched pursuant to two validly-issued search warrants, so exigent
 circumstances are irrelevant.
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 Career Criminal Act (“ACCA”). Case 2:16-cv-884-SPC-CM, doc. 10. The

 ACCA mandates a 15-year minimum sentence for a defendant who has three prior

 convictions for a violent felony or a serious drug offense and who is convicted of

 violating 18 U.S.C. § 922(g). 18 U.S.C. § 924(e)(1). The ACCA defines “serious

 drug offense” to include “an offense under State law, involving manufacturing,

 distributing, or possessing with intent to manufacture or distribute, a controlled

 substance . . . for which a maximum term of imprisonment of ten years or more is

 prescribed by law.” 18 U.S.C. § 924(e)(2)(A)(ii). The ACCA’s definition of serious

 drug offense “broadly includes any offense ‘involving’ the manufacture, distribution,

 or possession with the intent to manufacture of distribute.” United States v. James, 430

 F.3d 1150, 1155 (11th Cir. 2005); overruled on other grounds by Johnson v. United States,

 135 S. Ct. 2251 (2015).

       Felton argues that his counsel should have challenged his classification as an

 armed career criminal on the ground that his Florida drug-trafficking conviction does

 not qualify as a “serious drug offense” under the ACCA. That statute, Fla. Stat. §

 893.135(1)(b), provides that a “person who knowingly sells, purchases,

 manufactures, delivers, or brings into this state, or who is knowingly in actual or

 constructive possession of 28 grams of more of cocaine . . . , commits a felony of the

 first degree . . . .” Felton argues that his conviction under the trafficking statute

 does not qualify because he could have been convicted of having purchased 28 or

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 more grams of cocaine. But the Eleventh Circuit already has held that the Florida

 offense of drug trafficking in violation of Fla. Stat. § 893.135(1)(b) categorically

 qualifies as a “serious drug offense” under the ACCA. James, 430 F.3d at 1155.

 And, the Eleventh Circuit reaffirmed James recently in United States v. White, 837

 F.3d 1225, 1235 (11th Cir. 2016).

         Because James analyzed the identical Florida statute and concluded that it

 qualifies as a “serious drug offense” under the ACCA, this Court must follow James.

 Felton may attempt to limit the holding in James to offenses that involve the

 possession of cocaine, and not the purchase of cocaine. But the holding in James is

 not so narrow. In James, the Eleventh Circuit concluded that the language of the

 Florida statute need not exactly match the ACCA’s definition of a ‘serious drug

 offense’” because the ACCA’s definition of serious drug offense “broadly includes

 any offense ‘involving’ the manufacture, distribution, or possession with the intent to

 manufacture of distribute.” 430 F.3d at 1155. The Eleventh Circuit then held that

 “the Florida statute falls within the broad definition of a ‘serious drug offense.’” Id.

       Further, in James, the Eleventh Circuit noted that Florida had a three-tiered

 scheme for punishing drug-related offenses and that under this scheme, drug

 trafficking is a more serious offense and is punished more harshly than simple

 possession or possession with intent to distribute. James, 430 F.3d at 1154–55.

 Relying on United States v. Madera-Madera, 33 F.3d 1228 (11th Cir. 2003) — which

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 concluded that a similar Georgia drug scheme recognizes that someone who is

 convicted of drug trafficking necessarily plans on distributing those drugs — the

 Eleventh Circuit held in James that Florida’s drug-trafficking statute infers the intent

 to distribute from the amount of cocaine involved. Id. at 1154. Moreover, the

 Eleventh Circuit recognized that because the lesser offense of possession with intent

 to distribute qualifies as a “serious drug offense,” to hold that Florida’s more serious

 drug-trafficking offense was not a “serious drug offense” would create an anomaly

 that would thwart the ACCA’s purpose. Id. at 1155. The Eleventh Circuit,

 therefore, recognized in James that Fla. Stat. 893.135 broadly criminalizes drug-

 trafficking, i.e. the distribution of drugs.

        But, even if this were an open issue after James as Felton might propose, James

 compels the same outcome for a conviction for the purchase of cocaine under

 Florida’s drug-trafficking statute. Butler argues that the ACCA definition does not

 include the act of purchase, relying on United States v. Shannon, 631 F.3d 1187 (11th

 Cir. 2011).    Felton puts misplaced reliance on Shannon. Shannon considered the

 drug-trafficking statute under the career offender guidelines, see id. at 1188–89, and

 the career offender guideline defines a “controlled substance offense” more narrowly

 than the ACCA defines a “serious drug offense.”

        The ACCA differs from the career offender guideline analyzed in Shannon,

 which does not contain the word involves. Compare 18 U.S.C. § 924(e)(2)(A)(ii), with

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 USSG §4B1.2(b); see also White, 837 F.3d at 1235 (“[T]here is general agreement

 among the circuits that the ACCA’s definition of a serious drug offense is broader

 than the guidelines definition of a drug trafficking or a controlled substance offense

 because of the ACCA’s use of the term ‘involving.’”). Shannon’s holding, therefore,

 that a prior conviction that involved no more than purchase with the intent to

 distribute is not a controlled substance offense under the career offender guidelines

 does not control here.

       As just discussed, this Court already has reasoned that the language of the

 state statute need not exactly match the ACCA’s definition of a “serious drug

 offense.” James, 430 F.3d at 1155; see also White, 837 F.3d at 1235 (reaffirming

 reasoning in James). Rather, the ACCA’s “‘involving’ language makes clear that the

 term ‘serious drug offense’ may include even those state offenses that do not have as

 an element the manufacture, distribution, or possession of drugs with intent to

 manufacture or distribute.” James, 430 F.3d at 1155 (emphasis added); see also

 White, 837 F.3d at 1335 (noting that other circuits have rejected argument that

 “offense cannot qualify unless it expressly requires ‘actual distribution or

 manufacture, or a specific intent to distribute or manufacture’”). That the ACCA’s

 definition of “serious drug offense” does not contain the word “purchase,” therefore,

 is not dispositive. Instead, the dispositive issue is whether the statute involves the

 manufacture, distribution, or possession with intent to manufacture or distribute.

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       The Florida drug-trafficking statute involves the distribution of drugs — even

 when predicated on purchase.      The Eleventh Circuit recognized in Shannon — the

 very case on which Felton relies — that a violation of Florida’s drug-trafficking

 statute involves, at the minimum, “the purchase with intent to distribute.” 631 F.3d

 at 1190. Shannon’s statement that Florida’s drug-trafficking statute’s prohibition of

 the purchase of drugs means purchase with the intent to distribute, follows logically

 from James, which as discussed above recognizes that this statute broadly

 criminalizes drug trafficking. Thus, based on Shannon, a conviction for cocaine

 trafficking based on the purchase of cocaine involves the intent to distribute. That is

 sufficient to satisfy the ACCA’s broad definition of “serious drug offense,” which, as

 the Eleventh Circuit held in James, encompasses crimes involving distribution.

 Because Felton has failed to demonstrate that his conviction for trafficking in illegal

 drugs — even if premised on the purchase of cocaine —does not qualify as a “serious

 drug offense” under the ACCA. 2

              5.     Petitioner’s counsel was not constitutionally ineffective for
                     failing to uncover Petitioner’s status as an informant because
                     Petitioner was not an informant, nor did he have the authority to
                     possess heroin, crack cocaine, Xanax, and two assault rifles.

       Petitioner’s argument again fails on this prong for at least two reasons. First,

 the defendant was not an informant for the Fort Myers Police Department. Doc. 48


 2These issues are currently briefed and pending decision by the Eleventh Circuit
 Court of Appeals in United States v. Butler, 8:15-CR-454-T-24JSS (11th Cir.)
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 (“Agent Petaccio was in the process of turning him into a confidential informant.”)

 (emphasis added). Moreover, even if petitioner was a confidential informant for the

 Fort Myers Police Department, there is no evidence whatsoever that the FMPD

 permitted him to possess two assault rifles and 9 ounces of heroin, along with crack

 cocaine and Xanax, at his house. He has not otherwise pled that he was given such

 permission to possess the firearms or drugs in this case. In fact, defendant’s

 custodial interview indicates otherwise. Specifically, when asked about the drugs

 and assault rifles in his grandmother’s house, petitioner indicated they were his, not

 the FMPD’s, and he made no mention that Fort Myers Police authorized him to

 possess those items.

              6.     Petitioner’s counsel was not constitutionally ineffective for
                     failing to notify Petitioner that the seized funds were subject to
                     forfeiture proceedings in state court.

       The defendant’s claim relating to forfeiture fails because § 2255 does not apply

 to criminal forfeiture. United States v. Finze, 428 Fed.Appx. 672, 677 (9th Cir. 2011)

 (holding that § 2255 may not be used to challenge a criminal forfeiture order because

 it applies only to the custodial aspect of a criminal sentence); Winkelman v. United

 States, 494 Fed.Appx. 217, 220 n.4 (3d Cir. 2012) (same); Rodriguez v. United States,

 132 F.3d 30 (1st Cir. 1997) (holding that relief from monetary-type penalty, as

 opposed to release from confinement, is not cognizable under § 2255). Moreover,

 even if the defendant’s claim was cognizable on a § 2255 petition, these issues have

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 already been addressed and foreclosed by the Court’s ruling in Doc. 98. Therefore,

 the Court should deny the relief on these grounds

              7.     Petitioner’s Plea was Counseled and Voluntary

       Petitioner asserts that his plea was involuntary because he was innocent of the

 crime and he was coerced by his counsel. “A plea of guilty and the ensuing

 conviction comprehend all of the factual and legal elements necessary to sustain a

 binding, final judgment of guilt and a lawful sentence. Accordingly, when the

 judgment of conviction upon a guilty plea has become final and the offender seeks to

 reopen the proceeding, the inquiry is ordinarily confined to whether the underlying

 plea was both counseled and voluntary. If the answer is in the affirmative then the

 conviction and the plea, as a general rule, foreclose the collateral attack. There are

 exceptions where on the face of the record the court had no power to enter the

 conviction or impose the sentence.” United States v. Broce, 488 U.S. 563, 569 (1989).

       Plea bargaining retains its benefits of certainty and efficiency “only if

 dispositions by guilty plea are accorded a great measure of finality.” Blackledge v.

 Allison, 431 U.S. 63, 71 (1977) (“To allow indiscriminate hearings in federal

 postconviction proceedings for federal prisoners under 28 U.S.C. § 2255 would

 eliminate the chief virtues of the plea system—speed, economy, and finality”).

 Although § 2255 exists “to safeguard a person's freedom from detention in violation

 of constitutional guarantees,” the Court observed that “[m]ore often than not a

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 prisoner has everything to gain and nothing to lose from filing a collateral attack

 upon his guilty plea.” Id. at 71–72. As a result, “the representations of the defendant,

 his lawyer, and the prosecutor at [a plea] hearing, as well as any findings made by

 the judge accepting the plea, constitute a formidable barrier in any subsequent

 collateral proceedings.” Id. at 73–74 (explaining that if the record reflects the

 procedures of plea negotiation and includes a verbatim transcript of the plea

 colloquy, a petitioner challenging his plea will be entitled to an evidentiary hearing

 “only in the most extraordinary circumstances”). “The subsequent presentation of

 conclusory allegations unsupported by specifics is subject to summary dismissal, as

 are contentions that in the face of the record are wholly incredible.” Id. at 74; see

 also Winthrop-Redin v. United States, 767 F.3d 1210, 1216 (11th Cir. 2014).

       Here, the petitioner alleges only that he was “coerced” to plead guilty, but

 does not allege why or how – only that he was innocent of the offense. Moreover,

 the record reflects that the United States dropped at least one charge that was at least

 as serious as the charge to which he pled, and the defendant has not alleged that he

 was actually innocent of that charge either. Therefore, his claim fails.




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                              III.    CONCLUSION

       THEREFORE, the United States requests that this Court deny defendant’s

 motion pursuant to 28 U.S.C. § 2255.

                                            Respectfully submitted,

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